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                          United States District Court
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

UNITED STATES OF AMERICA                        §
                                                §
V.                                              §   CRIMINAL ACTION NO. 3 :20-CR-0546-S
                                                §
SERGIO ANTONIO PENA CORTES (3)                  §

         ORDER ACCEPTING REPORT AND RECOMMENDATION OF THE
      UNITED STATES MAGISTRATE JUDGE CONCERNING PLEA OF GUILTY

         After reviewing all relevant matters of record, including the Notice Regarding Entry of a
Plea of Guilty, the Consent of the Defendant, and the Report and Recommendation Concerning
Plea of Guilty of the United States Magistrate Judge, and no objections thereto having been filed
within 14 days of service in accordance with 28 U.S.C. § 636(b)(l), the undersigned District Judge
is of the opinion that the Report and Recommendation of the Magistrate Judge concerning the Plea
of Guilty is correct, and it is hereby accepted by the Court. Accordingly, the Court accepts the
plea of guilty, and SERGIO ANTONIO PENA CORTES (3) is hereby adjudged guilty of
18 U.S.C. § 1956(h), Conspiracy to Launder Monetary Instruments. Sentence will be imposed
in accordance with the Court's Scheduling Order.

       The Defendant is ordered to remain in custody.

       SO ORDERED.

       SIGNED October 20, 2021.



                                                    ·~~~~NGREN SCHOLER
                                                    UNITED STATES DISTRICT JUDGE
